AQ 440 (Rev. 06/12) Summons in a Civil Action

Summons and Complaint Return of Service

 

Case No. 20-cv-13134
Hon. Linda V. Parker

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Jocelyn Benson
was received by me on (date) \ 2 } \ | at ©

OI personally served the summons on the individual at (place)

on (date) ; or

 

1 I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address, or

¥ I served the summons on (name of individual) Didara ea at neo , who is
designated by law to accept service of process on behalf of fname of enon ie on Non A Grohe

—Joce| Lun. Yoon SIV on (date) irhfa if

fF I returned the summons unexecuted because ‘or

O Other fspecify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

 
    

Date: _ \z | \ | AC)

rver’s sign

Cohard S Eh € vS trom | Metre

Printed name'and title

#72 US. Genesee Sb

Server's address

Lamsina VMI. RTIZG

Additional information regarding attempted service, etc:
Case 2:20-cv-13134-LVP-RSW ECF No. 21, PagelD.2110 Filed 12/01/20 Page 2 of 6
AQ 440 (Rev. 06/12) Summons in a Civil Action

Summons and Complaint Return of Service

 

Case No. 20-cv-13134
Hon. Linda V. Parker

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and I: if any) Michigan Board of State Canvassers

was received by me on (date) - 12 \ BAO

© I personally served the summons on the individual at (piace)

on (date) , or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

t I served the summons on (name of individual) Noam, Se On| G OF> t
esignated by law to accept service of process on behalf of (name of organization) pecackany la
| u > 0

  

1 {f returned the summons unexecuted because

O Other ¢specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this informatio

 
 

Date: le), ] L lao tS >

rebar S. Hees omy Atbeney

P23 US. Genesee SH, Lamsing ME

Server's address

Additional information regarding attempted service, etc: Y 8735S
Case 2:20-cv-13134-LVP-RSW ECF No. 21, PagelD.2112 Filed 12/01/20 Page 4 of 6
AQ 440 (Rev. 06/12) Summons in a Civil Action

Summons and Complaint Return of Service

 

Case No, 20-cv-13134
Hon. Linda V. Parker

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any) Gretchen Whitmer

was received by me on (date) \ 2 | OL } LO

[ I personally served the summons on the individual at (place)

on (date) ; or

 

( I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© TI returned the summons unexecuted because

 

Other (specify):

My fees are $ for travel and $ for services, for a total of $

 

 

WelwarkS . Legerstto

ed name and ww

ww Attor ny

Qad OD Gevesee SV

Server's address

wy
Additional information regarding attempted service, etc: OG St A ' amu
Case 2:20-cv-13134-LVP-RSW ECF No. 21, PagelD.2114 Filed 12/01/20 Page 6 of 6
